                                                     Entered on Docket
                                                     December 07, 2018
                                                     EDWARD J. EMMONS, CLERK
                                                     U.S. BANKRUPTCY COURT
                                                     NORTHERN DISTRICT OF CALIFORNIA


 1   CRAIG A. BURNETT, ESQ. ID. #118907
     LAW OFFICES OF C. BURNETT                    Signed and Filed: December 7, 2018
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 4   Email: cburnett@nomoredebt.com               DENNIS MONTALI
                                                  U.S. Bankruptcy Judge
 5   Attorney for Debtor(s)

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 9                               UNITED STATES BANKRUPTCY COURT

10                               NORTHERN DISTRICT OF CALIFORNIA

11   In Re:                               )              Case No. 17-10509 DM12
                                          )              Chapter 12
12                                        )
     PATRICK MERRITT VINATIERI,           )              ORDER APPROVING FEE APPLICATION
13   dba VINATIERI VINEYEARDS,            )              OF COUNSEL FOR DEBTOR
                                          )
14                                        )
                                          )              Date: N/A
15                                        )              Time: N/A
     SSN: xxx-xx-5201,                    )              Place: U.S. Bankruptcy Court
16                                        )                     99 South E Street
                               Debtor(s). )                     Santa Rosa, CA 95404
17   ____________________________________ )

18            UPON CONSIDERATION of the application for fees filed by debtor’s counsel, and good cause

19   appearing therefor,

20            IT IS HEREBY ORDERED that fees in the sum of $12,000.00, of which $6,000.00 was paid prior

21   to filing, for services rendered by counsel for debtor with respect to representation of debtor through

22   confirmation of debtor’s plan, are approved and allowed.

23            IT IS FURTHER ORDERED that the fees and costs totaling $6,000.00 shall be paid to debtor’s

24   counsel by the Chapter 12 Trustee, David Burchard, as an administrative expense under the confirmed

25   Chapter 12 Plan.

26                                           **END OF ORDER**

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                                                                     ORDER APPROVING ATTORNEY'S FEES, Pg. 1
 1                                    COURT SERVICE LIST

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                                                           ORDER APPROVING ATTORNEY'S FEES, Pg. 2
